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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

IN RE:

Case No. 25-10084-M.
Chapter 7

Copper Tree, Inc.,

Debtor.

Nee ee ee ee Se”

NOTICE OF APPEARANCE AND
REQUEST FOR SERVICE OF PAPERS

Please take notice and be advised that Craig A. Brand, personally and individually, hereby
appears in the above referenced Chapter 7 case as a creditor and equity holder of and in the debtor
Copper Tree, Inc., and pursuant to the Federal Rules of Bankruptcy Procedure and the Local Rules
of the United States Bankruptcy Court for the Northern District of Oklahoma, respectfully requests
that copies of all notices, applications, motions, orders, and all other papers given or filed in this
case be given and served upon the undersigned at the following address, email address, or facsimile

number:

Craig A. Brand

11222 Oakshore Lane

Clermont, Florida 34711

Email: Craig@thebrandlawfirm.com

Dated: February 7, 2025
Respectfully submitted,

/s/Craig A. Brand

11222 Oakshore Lane

Clermont, Florida 34711

Email: Craig@thebrandlawfirm.com
Tel. (305) 878-1477

Pro se

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on February 7, 2025, a true and correct copy of the foregoing pleading
was served electronically on the US Trustee:

Patrick J. Malloy ITI

Malloy Law Firm, P.C.

401 S Boston Ave. Suite #500

Tulsa, OK 74103-3800

Contact phone 918-699-0345

Email: pjmiiim@sbeglobal.net

/s/ Craig A. Brand

